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 1                                                                               Hon. Thomas S. Zilly

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 4

 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE

 7
       KINSALE INSURANCE COMPANY, a                     No. 2:22-cv-1045 TSZ
 8     foreign insurer
                                                        KINSALE INSURANCE COMPANY’S
 9                           Plaintiff,                 NOTICE OF VOLUNTARY DISMISSAL
                                                        OF CLAIMS AGAINST RUFF
10            v.                                        CONSTRUCTION & MAINTENANCE,
                                                        INC. WITH PREJUDICE AND
11     RUFF CONSTRUCTION INC., f/k/a RUFF               WITHOUT COSTS PURSUANT TO FED.
       CONSTRUCTION & MAINTENANCE,                      R. Civ. P. 41(a)(1)(A)(i)
12     INC., a Washington corporation; and JOSE
       FRANCISCO MORALES OLGUIN, an
13     individual,

14                           Defendants.

15

16
            PLEASE TAKE NOTICE that pursuant to Fed. Rule Civ. P. 41(a)(1)(A)(i), Kinsale
17
     Insurance Company (Kinsale) hereby voluntarily dismisses all claims against defendant Ruff
18
     Construction, Inc. (“Ruff”) in this action with prejudice and without fees or costs to any party.
19
            In pertinent part, Fed. R. Civ. P. 41(a)(1) provides as follows:
20
                    (a)     Voluntary Dismissal
21
                            (1)      By the Plaintiff
22
                            (A)     Without Court Order. Subject to Rules 23(e), 23.1(c), 23.2
23                          and 66 and any applicable federal statute, the plaintiff may dismiss
                            an action without a court order by filing:

      KINSALE INSURANCE COMPANY’S NOTICE OF DISMISSAL                      LETHER LAW GROUP
      OF CLAIMS AGAINST RUFF CONSTRUCTION – 1                      1848 WESTLAKE AVENUE N, SUITE 100
      2:22-cv-1045 TSZ                                                      SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
             Case 2:22-cv-01045-TSZ          Document 40        Filed 04/24/23      Page 2 of 4




 1
                                    (i)     a notice of dismissal before the opposing party serves
 2                                  either an answer or a motion for summary judgment; . . .

 3                                  ...

 4                          (B)    Effect. Unless the notice of stipulation states otherwise, the
                            dismissal is without prejudice. . . .
 5
     Fed. R. Civ. P. 41(a)(1).
 6
            A plaintiff has an absolute right to a voluntary dismissal under Rule 41(a)(1) prior to the
 7
     time the defendant serves an answer or files a motion for summary judgment and the dismissal
 8
     becomes effective upon filing of the notice. Concha v. London, 62 F.3d. 1493, 1506 (9th Cir.
 9
     1995). A court order is not required. Id.
10
            Here, Kinsale is entitled to voluntarily dismiss the claims against Ruff with prejudice
11
     dismissal of the claims against Ruff because Ruff has neither answered nor filed a motion for
12
     summary judgment even though defendant Jose Francisco Morales Olguin has answered. See
13
     Pedrina v. Han Kuk Chun, 987 F.2d 608, 609-10 (9th Cir. 1993). Further, because the issues
14
     between Ruff and Kinsale have been resolved through a settlement agreement (See Dkt. 39-1)
15
     Kinsale hereby provides notice that the dismissal is with prejudice and without costs or fees to
16
     Kinsale and/or Ruff.
17

18                  DATED this 24th day of April, 2023.

19
                                                   LETHER LAW GROUP
20
                                                   /s/ Kevin J. Kay
21                                                 Thomas Lether, WSBA #18089
                                                   Kevin J. Kay, WSBA #34546
22                                                 1808 Westlake Avenue N., Suite 100
                                                   Seattle, WA 98109
23                                                 206.467.5444
                                                   tlether@ltherlaw.com

      KINSALE INSURANCE COMPANY’S NOTICE OF DISMISSAL                      LETHER LAW GROUP
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 1                                       kkay@letherlaw.com
                                         Attorneys for Kinsale Insurance Company
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     KINSALE INSURANCE COMPANY’S NOTICE OF DISMISSAL           LETHER LAW GROUP
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                                                        P: (206) 467-5444 F: (206) 467-5544
            Case 2:22-cv-01045-TSZ           Document 40       Filed 04/24/23      Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2          The undersigned hereby certify under the penalty of perjury under the laws of the State

 3   of Washington that on this date I caused to be served in the manner noted below a true and correct

 4   copy of the foregoing on the parties mentioned below as indicated:

 5
     Derek Moore, WSBA #37921
 6   Bishop Law Office PS
     19743 1St Ave S.
 7   Normandy Park, WA 98148-2401
     Derek@bishoplegal.com
 8   206-592-9000
     Counsel for Jose Olguin
 9

10
     By:        [ ] First Class Mail            [X] ECF
11
            DATED this 24th day of April 2023 at Seattle, Washington.
12
                                                  /s/ Nico Schulz
13                                                Nico Schulz | Paralegal

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      KINSALE INSURANCE COMPANY’S NOTICE OF DISMISSAL                     LETHER LAW GROUP
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      2:22-cv-1045 TSZ                                                     SEATTLE, WA 98109
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